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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

  FEDERAL TRADE COMMISSION, and the

  STATE OF FLORIDA,

                Plaintiffs,

         v.

  VYLAH TEC LLC, a limited liability company,
  also d/b/a VTEC SUPPORT;
                                                                2:17-cv-00228-UA-MRM
  EXPRESS TECH HELP LLC, a limited liability
  company;

  TECH CREW SUPPORT LLC, a limited liability
  company;

  ANGELO J. CUPO, individually and as owner
  and CEO of Vylah Tec LLC and as manager of
  Tech Crew Support LLC;

  ROBERT CUPO, individually and as manager of
  Vylah Tec LLC, as owner, manager, director and
  officer of Tech Crew Support LLC, and member
  of Express Tech Help LLC; and

  DENNIS CUPO, individually, and as manager of
  Express Tech Help LLC, and as owner, officer
  and manager of Tech Crew Support LLC,

                   Defendants,


                               AMENDED NOTICE OF DEPOSITION

        PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

 Procedure, Plaintiff Federal Trade Commission and State of Florida will take the deposition of

 Defendant Vylah Tec LLC, also d/b/a Vtec Support. You are instructed to designate one or more
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 officers, directors, or managing agents, or designate other persons who consent to testify on its

 behalf who can testify about the following matters of examination: (1) The origin and formation

 of Vylah Tec LLC; (2) The job titles and duties of the employees and principals; (3) the total

 number and identification of employees and principals who worked at Vtec; (4) The defendants’

 hiring, firing and disciplinary procedures and circumstances of hiring and disciplining of

 employees; (5) The defendants’ day to day operations, including their policies and procedures;;

 (6) The defendants’ use of employee monitoring and the related policies and procedures (7)

        The defendants’ procurement of agreements with lead generators, and banking and

 financial institutions, including payment processors; (8).   The defendants’ creation, content,

 distribution and use of scripts when interacting with consumers, including the identification of

 the author of scripts, the time periods that scripts were in use, that employees who used the

 scripts and the basis for the claims made about software in the defendants’ sales scripts. (9).

        The defendants’ use of remoting services to directly access consumers’ computers; (10)

 The defendants’ use of pop up message advertising (“pop ups”), including identifying the period

 of time(s) that defendants used pop ups, descriptions of the pop ups, the use of the pop ups, the

 origin of the pop ups, and the identity of and communication with any vendors of the pop ups;

 and an explanation of how consumers would come into contact with the defendants through the

 use of pop up advertising; (11) The defendants’ agreement with Avanquest North America LLC

 to provide technical support services to shopping channel customers of HSN, QVC, and EVine

 Live, including the time periods that the defendants serviced each of the shopping channels; (12)

 The technical certifications held by the defendants, such as with Microsoft, Apple, Norton,

 CISCO Systems, Inc., and CHSE Certified HIPPA Security Experts; (13) The development of
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 the      defendants’        websites,        www.vylahtec.com,         www.expresstechhelp.com,

 www.techcrewsupport.com; (14) The nature and content of information provided to the

 defendants by HSN and Avanquest North America LLC about the customers and their purchase;

 (15) The total amount of gross revenue, generated by the defendants for sales January 2014 -

 May 2017; and (16) the total amount of chargebacks, and refunds resulting from the defendants

 sales January 2014 - May 2017.

        Attached, pursuant to Rules 30(b)(2) and 34 of the Federal Rules of Civil Procedure is a

 Request for Production of Documents, which designates certain documents that the defendant

 Vylah Tec LLC shall bring to its deposition. See Attachment A.

        Pursuant to FRCP 30(b)(3), the deposition will be conducted upon oral examination and

 recorded by stenographic means. The deposition will take place at the U.S. Attorney’s Office,

 Middle District of Florida, 2110 First Street, Suite 3-137, Fort Myers, FL 33901 on Friday,

 January 19, 2017, at 9:00 AM.

                                  CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2017 I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served today on all counsel of record identified on the attached Service List in the manner

 specified via transmission of Notice of Electronic Filing generated by CM/ECF, which will

 automatically send email notification of such filing to the counsel of record.

                                         Respectfully submitted,

                                         s/Robin L. Rock

                                         ROBIN L. ROCK
                                         Trial Counsel
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                                    SANA C. CHRISS
                                    Trial Counsel

                                    Federal Trade Commission
                                    Southeast Region
                                    225 Peachtree Street, N.E., Suite 1500
                                    Atlanta, GA 30303
                                    Telephone:     404-656-1368 (Rock)
                                                   404-656-1364 (Chriss)
                                    Facsimile:     404-656-1379
                                    Email: rrock@ftc.gov; schriss@ftc.gov
                                    Attorneys for Plaintiff
                                    FEDERAL TRADE COMMISSION

                                    PAMELA JO BONDI
                                    ATTORNEY GENERAL
                                    STATE OF FLORIDA
                                    s/Genevieve Bonan
                                    By: Genevieve Bonan
                                    Assistant Attorney General
                                    Fla. Bar No. 109539
                                    Office of Attorney General
                                    Consumer Protection Division
                                    Genevieve.Bonan@myfloridalegal.com
                                    1515 N. Flagler Drive, Ste. 900
                                    West Palm Beach, FL 33401
                                    Phone: (561) 837-5007
                                    Attorney for Plaintiff
                                    STATE OF FLORIDA
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                            SERVICE LIST


       Counsel for Defendants
       Joe M. Grant, Esq.
       197 South Federal Highway, Suite 200
       Boca Raton, FL 33432
       Email: jgrant@msglaw.com

       Counsel for Receiver Barry Mukamal
       Charles H. Lichtman, Esq.
       P. Benjamin Zuckerman, Esq.
       350 East Las Olas Boulevard, Suite 1000
       Fort Lauderdale, Florida 33301
       Email:bzuckerman@bergersingerman.com; clichtman@bergersingerman.com


       Counsel for Plaintiff Federal Trade Commission
       Sana Chriss, Esq
       225 Peachtree Street, N.E., Suite 1500
       Atlanta, GA 30303
       Email: schriss@ftc.gov

       Counsel for Plaintiff State of Florida
       Genevieve Bonan, Esq.
       Assistant Attorney General
       Office of Attorney General, State of Florida
       1515 N. Flagler Drive, Ste. 900
       West Palm Beach, FL 33401
       Email:Genevieve.Bonan@myfloridalegal.com
